                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE



UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      No. 2:14-CR-006
                                                  )
JORDAN JOHNSON                                    )


                            MEMORANDUM AND ORDER

              On September 11, 2014, the court held a hearing on the defendant’s pro se

request to withdraw his guilty plea [doc. 66] and the motion for plea withdrawal filed by

defendant’s attorney [doc. 55]. For the reasons that follow, each motion will be denied.

                                             I.

                                        Background

              This is a multi-defendant counterfeiting case. On April 7, 2014, the present

defendant signed a plea agreement admitting guilt to Count One (conspiring to make and

possess counterfeit Federal Reserve Notes). The court accepted that guilty plea at an

April 22, 2014 hearing, and a transcript of that hearing has been filed [doc. 90].

              On July 22, 2014, defense counsel moved for the defendant to be allowed

to withdraw his guilty plea “for reasons to be set forth by Defendant at court.” On July

25, 2014, the defendant filed his pro se motion, asking both to withdraw his plea and to

be appointed a different attorney. That mailing was postmarked July 22. Subsequently,

at a hearing before Chief United States Magistrate Judge Dennis Inman, the defendant



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abandoned his request for a new lawyer. [Doc. 86, 103].

             As to the withdrawal of his plea, the defendant’s pro se motion states:

      My co-defendant (Gerren Neff) is being represented by (Thomas Rasnic)
      my lawyers cousin – my lawyer – (Joseph Rasnic). This is a conflict of
      interest. Also Gerren Neff is my uncle. He was/and is willing to testify
      against me in my case. I was forced to plea guilty to something I am truely
      innocent of. But I had no choice too because I was afraid my lawyer
      (Joseph Rasnic), my uncle’s lawyer (Thomas Rasnic), and my uncle were
      all 3 working against me. So I was forced to plea out. I’m innocent of this
      crime.

[Doc. 66, p. 1-2] (spelling, grammar, and emphasis as in original).

             As noted, on April 7, 2014, the defendant signed a plea agreement. In

material part, that agreement provides:

      - “The defendant is pleading guilty because the defendant is in fact guilty.”
      [Doc. 32, ¶ 3].

      - The defendant admitted responsibility for his role in the counterfeiting
      scheme. [Doc. 32, ¶ 4(a)-(f)].

      - “No promises have been made by any representative of the United States
      to the defendant as to what the sentence will be in this case. Any estimates
      or predictions made to the defendant by defense counsel or any other
      person regarding any potential sentence in this case are not binding on the
      Court, and may not be used as a basis to rescind this plea agreement or
      withdraw the defendant’s guilty plea(s).” [Doc. 32, ¶ 6].

             At the commencement of the April 22, 2014 change of plea hearing, the

defendant swore to tell the truth. [Doc. 90, p.2]. The following pertinent exchanges and

acknowledgments from the change of plea hearing are noted:

      - The defendant confirmed his understanding that he could be prosecuted
      for perjury if he answered any questions falsely. [Doc. 90, p.3].

      - The defendant affirmed that he understood what was happening. [Doc.
      90, p.3-4].
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      - The defendant affirmed that his attorney had explained the terms of the
      plea agreement to him, and that he was satisfied with his attorney’s advice
      and representation. [Doc. 90, p.5].

      - The defendant affirmed his understanding “that by entering a plea of
      guilty if that plea is accepted by the Court that there will be no trial and that
      you will have given up the right to a trial of any kind as well as those other
      rights associated with a trial . . . .” [Doc. 90, p.6].

      - The defendant agreed with the government’s summary of his criminal
      conduct in this case, and he confirmed that he was pleading guilty because
      he was in fact guilty. [Doc. 90, p.10].

      - The court advised the defendant, “You will not be permitted to withdraw
      your plea on the basis of the sentence that you might receive.” [Doc. 90,
      p.12-13].

      - After hearing the above-noted admonitions, the defendant confirmed that
      he still wished to plead guilty. [Doc. 90, p.14].

             Having     personally     observed     the    defendant’s     appearance     and

responsiveness, the court found him competent to plead guilty. [Doc. 90, p.14]. The

court then accepted the plea and concluded the hearing by asking the defendant if he had

any questions. [Doc. 90, p.14-15]. The defendant replied, “No, Sir.” [Doc. 90, p.15].

             The defendant’s Presentence Investigation Report (“PSR”) was disclosed on

July 9, 2014. Defense counsel filed a notice of objections on July 22, 2014 – the same

date as the filing and/or mailing of the motions now before the court. [Doc. 56]. Legally,

the defendant objects to the criminal history scoring of certain juvenile convictions.

Factually, he objects only that he was not involved in a traffic stop discussed in the

Offense Conduct section of the PSR.




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             The defendant has not objected to any other contents of the PSR’s “Offense

Conduct” section, including paragraphs 7 through 12 (which are admissions of guilt taken

verbatim from the plea agreement), and paragraphs 14 through 17 (which further implicate

the defendant in the instant conspiracy). At sentencing, the court may accept those

unobjected-to paragraphs as findings of fact. See Fed. R. Crim. P. 32(i)(3)(A).

                                            II.

                                         Analysis

             After a plea of guilty has been accepted by the court, a defendant may

withdraw that plea upon demonstrating “a fair and just reason for requesting the

withdrawal.” Fed. R. Crim. P. 11(d)(2)(B). To determine whether a defendant has

presented “a fair and just reason,” courts consider a nonexhaustive list of factors

including,

      1. The length of time between the plea and the motion to withdraw;

      2. The presence or absence of a valid reason for failing to move earlier;

      3. Whether the defendant has asserted or maintained his innocence;

      4. The circumstances underlying the entry of the guilty plea;

      5. The defendant’s nature and background;

      6. The degree to which the defendant has prior experience with the criminal
         justice system; and

      7. Potential prejudice to the government if the motion is granted.

United States v. Quinlan, 473 F.3d 273, 276-77 (6th Cir. 2007) (citing United States v.

Bashara, 27 F.3d 1174, 1181 (6th Cir. 1994)). These considerations “are a general, non-
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exclusive list and no one factor is controlling.” United States v. Bazzi, 94 F.3d 1025,

1027 (6th Cir. 1996).

      A defendant does not have an absolute right to withdraw a guilty plea and
      bears the burden of proving that he is entitled to withdraw his guilty plea.
      When a defendant has entered a knowing and voluntary plea of guilty at a
      hearing at which he acknowledged committing the crime, the occasion for
      setting aside a guilty plea should seldom arise. The withdrawal of a guilty
      plea is inherently in derogation of the public interest in finality and the
      orderly administration of justice.

United States v. Ellis, 470 F.3d 275, 280 (6th Cir. 2006) (citations and quotations

omitted).

                    A. Length of Time Between Plea and Motion

             As noted, this court accepted the defendant’s guilty plea on April 22, 2014,

and the defendant signed his plea on April 7, 2014. Defense counsel filed his motion on

July 22, 2014, which is the same date as the postmark on defendant’s pro se motion.

Ninety days passed between the entry of the defendant’s plea and his motions to

withdraw. A delay of 30 days is “at the boundary line between what is acceptable and

what is not.” United States v. Benton, 639 F.3d 723, 727 (6th Cir. 2011) (citing and

quoting United States v. Jannuzzi, No. 07-4521, 2009 WL 579331, at *3 (6th Cir. Mar. 6,

2009)). The 90-day delay in this case does not weigh in the defendant’s favor. See

Benton, 639 F.3d at 727 (93-day delay weighed against the defendant).




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                         B. Reason for Failing to Move Earlier

              According to defense counsel’s memorandum,

       Defendant first raised the issue of withdrawing his plea in a letter received
       by counsel at the end of April 2014, wherein he indicated that he intended
       to withdraw his plea and proceed to trial unless he was provided copies of
       all witness statements implicating him in the conspiracy. I had previously
       explained to him that the government was not obliged to provide these
       unless he planned to go to trial. He has persisted in his request for these
       documents.

[Doc. 72, p.2]. At the September 11 hearing, counsel stressed that it was he who made

the decision not to file a motion in April. In response, the prosecution correctly points

out that the concern raised by the defendant in his April 2014 letter is not a valid basis for

plea withdrawal. The court further observes that the timing of the defendant’s motions

(filed or mailed on the same date as his objections to the criminal history category

calculated by the PSR) is suspect. This factor, the reason for failing to move earlier,

weighs against allowing withdrawal of the guilty plea.

                               C. Assertions of Innocence

              As quoted immediately above, defense counsel’s memorandum cites an

apparent tactical concern raised by the defendant in late April of 2014 regarding the

quantity and quality of the proof against him. It was not until three months later in his

pro se motion that the defendant stated on the record, “I’m innocent of this crime.”

              By contrast, the signed plea agreement clearly provides, “The defendant is

pleading guilty because the defendant is in fact guilty.” Similarly, at his change of plea

hearing the defendant stated under oath that he was pleading guilty because he was in fact


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guilty. “This factor cuts against Defendant. Defendant admitted his guilt at least twice

before he ultimately decided to declare his innocence.” United States v. Gregory, 41 F.

App’x 785, 792 (6th Cir. 2002).

              Rule 11(d) is designed “to allow a hastily entered plea made with unsure

heart and confused mind to be undone, not to allow a defendant to make a tactical

decision to enter a plea, wait several weeks, and then obtain a withdrawal if he believes

that he made a bad choice in pleading guilty.” United States v. Alexander, 948 F.2d

1002, 1004 (6th Cir. 1991) (citation and quotation omitted).          “Belated claims of

innocence without more are simply insufficient to justify withdrawal of a guilty plea.”

Gregory, 41 F. App’x at 792. In his pro se motion, the defendant states that he is asking

to withdraw his plea “mainly” because his cousin and the two attorneys were “possibly”

working against him. [Doc. 66, p.2]. The consideration of whether the defendant has

asserted or maintained innocence weighs in favor of denying his motions.

               D. Circumstances Underlying the Entry of the Guilty Plea

              The defendant claims he was “forced” to plead guilty because he “was

afraid” that his attorney, his uncle, and his uncle’s attorney were conspiring against him.

The court again notes that the defendant: swore to tell the truth at his change of plea

hearing; admitted his guilt; and said he was satisfied with his attorney’s representation.

Therefore, the defendant’s current position is that he repeatedly lied under oath at his

change of plea hearing. That fact renders his rather dubious conspiracy claim even less

believable in the court’s eyes. See United States v. Banks, 27 F. App’x 354, 359-60 (6th

Cir. 2001) (defendant’s claim of inadequate counsel refuted by his prior statement under
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oath that he was satisfied with his attorney); accord United States v. Terry, 162 F. App’x

539, 541 (6th Cir. 2006) (same).

             The court has considered the circumstances underlying the entry of the

guilty plea. This factor does not weigh in favor of plea withdrawal.

       E. Nature, Background, and Experience with the Criminal Justice System

             According to the PSR, the defendant has earned his GED. In 2006, he

underwent a psychological evaluation. The examiner concluded that the defendant

possesses at least average intelligence and does not have a learning disability. The only

“mental health” diagnoses were “Conduct Disorder, Adolescent Onset Type, Severe” and

“Problems with Primary Support Group, Problems Related to Interaction with the Legal

System.”    The PSR further states that, in 2009, the defendant “was referred for

psychiatric treatment due to Attention-Deficit Hyperactivity Disorder (ADHD)

symptoms. He was placed on medication and visited a psychiatrist on a monthly basis.”

According to defense counsel’s memorandum, the defendant “indicated to me for the first

time during our telephone conference on July 25 that he desires to be referred for a

psychological evaluation.” [Doc. 72, p.3].

              The defendant is only 20 years old yet the PSR lists numerous prior

convictions (beginning at age 12). In addition, his custodial infraction record features

several “repeated refusals to follow direct orders” along with threatening, “interfering

with,” and “manipulating” staff.




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             Defense counsel correctly points out that the defendant has prior experience

only with the state system, and only one prior conviction is non-juvenile. The court

notes, however, that there are more than 20 pending adult charges against the defendant

in Sullivan County, Tennessee.      The court further notes defense counsel’s candid

admission that “Counsel believes that there is a perception based on the experience of

others in the state and juvenile system that withdrawing a guilty plea is a common or

routine occurrence.” [Doc. 72, p.3-4].

             Although this is indeed the defendant’s first federal case, the record and

this court’s personal observations do not indicate that the defendant was unable to

understand either his plea agreement or the court’s admonitions at the change of plea

hearing. What the defendant perceives others may or may not have gotten away with in

the state juvenile system is irrelevant. This court again notes the defendant’s prior

affirmations that he is guilty in this case and that he understood the role of the PSR and

Sentencing Guidelines.     On the whole, the defendant’s nature, background, and

experience with the criminal justice system weigh in favor of denying the present

motions.

                             F. Prejudice to Government

             The government “is not required to establish prejudice that would result

from a plea withdrawal, unless and until the defendant advances and establishes a fair and

just reason for allowing the withdrawal . . . .” United States v. Spencer, 836 F.2d 236,

240 (6th Cir. 1987). Having considered the Quinlan/Bashara factors, the court concludes

that the defendant has not shown a fair and just reason for withdrawing his plea. The
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court therefore need not further address the “prejudice to government” factor.

                                           III.

                                       Conclusion

               For the reasons stated herein, the pending motions [docs. 55, 66] are

DENIED. Sentencing remains set for Thursday, November 6, 2014, at 10:00 a.m. in

Greeneville.



               IT IS SO ORDERED.

                                                       ENTER:

                                                              s/ Leon Jordan
                                                        United States District Judge




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